Case 2:18-cv-02874-MSN-cgc Document 1 Filed 12/24/18 Page 1 of 8                    PageID 1




                         UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF TENNESSEE
                               MEMPHIS DIVISION

 JOSEPHINE BENSON,

       Claimant,

 v.
                                                    CASE NO.:
 OCWEN LOAN SERVICING, LLC,

       Defendant.
                                       /

                   COMPLAINT AND DEMAND FOR JURY TRIAL

        COMES NOW, Plaintiff, Josephine Benson (hereinafter “Plaintiff”), by and

 through the undersigned counsel, and sues Defendant, Ocwen Loan Servicing, LLC

 (hereinafter “Defendant”), and in support thereof respectfully alleges violations of the

 Telephone Consumer Protection Act, 47 U.S.C. § 227 et seq. (“TCPA”).

                                    INTRODUCTION

           1.   The TCPA was enacted to prevent companies like Defendant from

 invading American citizen’s privacy and to prevent abusive “robo-calls.”

           2.   “The TCPA is designed to protect individual consumers from receiving

 intrusive and unwanted telephone calls.” Mims v. Arrow Fin. Servs., LLC, 132 S. Ct. 740

 (2012).

           3.   “Senator Hollings, the TCPA’s sponsor, described these calls as ‘the

 scourge of modern civilization, they wake us up in the morning; they interrupt our dinner

 at night; they force the sick and elderly out of bed; they hound us until we want to rip the

 telephone out of the wall.” 137 Cong. Rec. 30, 821 (1991). Senator Hollings presumably


                                              1
Case 2:18-cv-02874-MSN-cgc Document 1 Filed 12/24/18 Page 2 of 8                      PageID 2




 intended to give telephone subscribers another option: telling the auto-dialers to simply

 stop calling.” Osorio v. State Farm Bank, F.S.B., 746 F. 3d 1242 (11th Cir. 2014).

        4.       According    to   the   Federal   Communications     Commission      (FCC),

 “Unwanted calls and texts are the number one complaint to the FCC.               There are

 thousands of complaints to the FCC every month on both telemarketing and robocalls.

 The FCC received more than 215,000 TCPA complaints in 2014." Fact Sheet: Wheeler

 Proposal to Protect and Empower Consumers Against Unwanted Robocalls, Texts to

 Wireless     Phones,   Federal    Communications      Commission,     (May     27,    2015),

 https://apps.fcc.gov/edocs_public/attachmatch/DOC-333676A1.pdf.

                              JURISDICTION AND VENUE

         5.      Jurisdiction and venue for purposes of this action are appropriate and

 conferred by 28 U.S.C. § 1331, Federal Question Jurisdiction, as this action involves

 violations of the TCPA.

         6.      Subject matter jurisdiction, federal question jurisdiction, for purposes of

 this action is appropriate and conferred by 28 U.S.C. § 1331, which provides that the

 district courts shall have original jurisdiction of all civil actions arising under the

 Constitution, laws, or treaties of the United States; and this action involves violations of

 47 U.S.C. § 227(b)(1)(A)(iii). See Mims v. Arrow Fin. Servs., LLC, S.Ct. 740, 748 (2012)

 and Osorio v. State Farm Bank, F.S.B., 746 F.3d 1242, 1249 (11th Cir. 2014).

        7.       The alleged violations described herein occurred in Shelby County,

 Tennessee. Accordingly, venue is appropriate with this Court under 28 U.S.C.




                                              2
Case 2:18-cv-02874-MSN-cgc Document 1 Filed 12/24/18 Page 3 of 8                     PageID 3




 §1391(b)(2), as it is the judicial district in which a substantial part of the events or

 omissions giving rise to this action occurred.

                               FACTUAL ALLEGATIONS

        8.      Plaintiff is a natural person, and citizen of the State of Tennessee, residing

 in Shelby County, Tennessee.

        9.      Plaintiff is the “called party.” See Breslow v. Wells Fargo Bank, N.A., 755

 F. 3d 1265 (11th Cir. 2014) and Osorio v. State Farm Bank, F.S.B., 746 F.3d 1242 (11th

 Cir. 2014).

        10.     Defendant is a corporation which was formed in Delaware with its

 principal place of business located at 1661 Worthington Road, Suite 100, West Palm

 Beach, Florida 33409.

        11.     Defendant has called Plaintiff hundreds of times in an attempt to collect

 debts associated with two different home loans.

        12.     Upon information and belief, some or all of the calls Defendant made to

 Plaintiff’s cellular telephone number were made using an “automatic telephone dialing

 system” which has the capacity to store or produce telephone numbers to be called, using

 a random or sequential number generator (including but not limited to a predictive dialer)

 or an artificial or pre-recorded voice; and to dial such numbers as specified by 47 U.S.C §

 227(a)(1) (hereinafter “auto-dialer calls”). Plaintiff will testify that she knew it was an

 auto-dialer because of the vast number of calls she received and because she heard a

 pause when she answered her phone before a voice came on the line, which is a common




                                              3
Case 2:18-cv-02874-MSN-cgc Document 1 Filed 12/24/18 Page 4 of 8                       PageID 4




 indicator of the use of an ATDS. Furthermore, Plaintiff received pre-recorded messages

 from Defendant.

         13.     Plaintiff is the subscriber, regular user and carrier of the cellular telephone

 number 901-***-7156 and was the called party and recipient of Defendant’s calls.

         14.     Defendant placed an exorbitant number of automated calls to Plaintiff’s

 aforementioned cellular telephone number in an attempt to collect on two home loans.

         15.     On several occasions since Defendant’s campaign of harassing calls

 began, Plaintiff instructed Defendant’s agent(s) to stop calling her cellular telephone.

 However, the auto-dialer calls continue to no avail.

         16.     Plaintiff has repeatedly advised Defendant’s agent(s) that her preferred

 method of contact is email and that she does not want calls to her cellular telephone.

 Despite this instruction, calls to Plaintiff’s cellular telephone continue.

         17.     Defendant has a corporate policy to use an automatic telephone dialing

 system or a pre-recorded or artificial voice to contact individuals just as they did to

 Plaintiff’s cellular telephone in this case.

         18.     Defendant has a corporate policy to use an automatic telephone dialing

 system or a pre-recorded or artificial voice, just as they did to the Plaintiff’s cellular

 telephone in this case, with no way for the consumer, Plaintiff, or Defendant, to remove

 the number.

         19.     Defendant’s corporate policy is structured so as to continue to call

 individuals like Plaintiff, despite these individuals explaining to Defendant they do not

 wish to be called.



                                                4
Case 2:18-cv-02874-MSN-cgc Document 1 Filed 12/24/18 Page 5 of 8                    PageID 5




            20.   Defendant has numerous other federal lawsuits pending against them

 alleging similar violations as stated in this Complaint.

            21.   Defendant has numerous complaints against it across the country asserting

 that its automatic telephone dialing system continues to call customers despite being told

 to stop.

            22.   Defendant has had numerous complaints against it from consumers across

 the country asking to not be called; however Defendant continues to call these individuals

 using its auto-dialer.

            23.   Defendant’s corporate policy provided no means for Plaintiff to have

 Plaintiff’s number removed from Defendant’s call list.

            24.   Defendant has a corporate policy to harass and abuse individuals despite

 actual knowledge the called parties do not wish to be called.

            25.   Defendant calls customers multiple times per day in an obvious effort to

 harass and intimidate customers into making a payment.

            26.   Not one of Defendant’s telephone calls placed to Plaintiff were for

 “emergency purposes” as specified in 47 U.S.C. § 227(b)(1)(A).

            27.   Defendant willfully and/or knowingly violated the TCPA with respect to

 Plaintiff.

            28.   From each and every call placed without express consent by Defendant to

 Plaintiff’s cellular telephone, Plaintiff suffered the injury of invasion of privacy and the

 intrusion upon her right of seclusion.




                                               5
Case 2:18-cv-02874-MSN-cgc Document 1 Filed 12/24/18 Page 6 of 8                       PageID 6




        29.     From each and every call without express consent placed by Defendant to

 Plaintiff’s cellular telephone, Plaintiff suffered the injury of the occupation of her cellular

 telephone line and cellular telephone by unwelcome calls, making the cellular telephone

 unavailable for legitimate callers or outgoing calls while the cellular telephone was

 ringing from Defendant’s call.

        30.     From each and every call placed without express consent by Defendant to

 Plaintiff’s cellular telephone, Plaintiff suffered the injury of unnecessary expenditure of

 her time. For calls she answered, the time she spent on the call was unnecessary as it

 repeatedly asked for the calls to stop. Even for unanswered calls, Plaintiff had to waste

 time to unlock the phone and deal with missed call notifications and call logs that reflect

 the unwanted calls. This also impaired the usefulness of these features of Plaintiff’s

 cellular phone, which are designed to inform the user of important missed

 communications.

        31.     Each and every call placed without express consent by Defendant to

 Plaintiff’s cellular telephone was an injury in the form of a nuisance and annoyance to the

 Plaintiff. For calls that were answered, Plaintiff had to go to the unnecessary trouble of

 answering them. Even for unanswered calls, Plaintiff had to waste time to unlock the

 cellular telephone and deal with missed call notifications and call logs that reflected the

 unwanted calls. This also impaired the usefulness of these features of Plaintiff’s cellular

 telephone, which are designed to inform the user of important missed communications.




                                               6
Case 2:18-cv-02874-MSN-cgc Document 1 Filed 12/24/18 Page 7 of 8                    PageID 7




         32.     Each and every call placed without express consent by Defendant to

 Plaintiff’s cellular telephone resulted in the injury of unnecessary expenditure of

 Plaintiff’s cellular telephone’s battery power.

         33.     Each and every call placed without express consent by Defendant to

 Plaintiff’s cellular telephone where a voice message was left which occupied space in

 Plaintiff’s cellular telephone or network.

         34.     Each and every call placed without express consent by Defendant to

 Plaintiff’s cellular telephone resulted in the injury of a trespass to Plaintiff’s chattel,

 namely her cellular telephone and her cellular telephone services.

         35.     As a result of the calls described above, Plaintiff suffered an invasion of

 privacy. Plaintiff was also affected in a personal and individualized way by anger,

 frustration, stress, nervousness, embarrassment, annoyance, and aggravation.

                                           COUNT I
                                    (Violation of the TCPA)

         36.     Plaintiff fully incorporates and re-alleges paragraphs one (1) through

 thirty-five (35) as if fully set forth herein.

         37.     Defendant willfully violated the TCPA with respect to Plaintiff,

 specifically for each of the auto-dialer calls made to Plaintiff’s cellular telephone after

 Plaintiff notified Defendant that Plaintiff wished for the calls to stop.

         38.     Defendant repeatedly placed non-emergency telephone calls to Plaintiff’s

 cellular telephone using an automatic telephone dialing system or prerecorded or artificial

 voice without Plaintiff’s prior express consent in violation of federal law, including 47

 U.S.C § 227(b)(1)(A)(iii).


                                                  7
Case 2:18-cv-02874-MSN-cgc Document 1 Filed 12/24/18 Page 8 of 8                        PageID 8




        WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so

 triable and judgment against Ocwen Loan Servicing, LLC, for statutory damages,

 punitive damages, actual damages, treble damages, enjoinder from further violations of

 these parts and any other such relief the court may deem just and proper.

                                              Respectfully submitted,



                                                 /s/Frank H. Kerney, III, Esquire
                                                 Frank H. Kerney, III, Esquire
                                                 BPR #: 035859
                                                 Morgan & Morgan, Tampa, P.A.
                                                 One Tampa City Center
                                                 201 North Franklin Street, 7th Floor
                                                 Tampa, FL 33602
                                                 Telephone: (813) 223-5505
                                                 Facsimile: (813) 223-5402
                                                 fkerney@forthepeople.com
                                                 snazario@forthepeople.com
                                                 Counsel for Plaintiff




                                             8
